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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                      4:06CR3016
                                                )
               v.                               )
                                                )
ARMANDO GARCIA-DELACRUZ,                        )         MEMORANDUM AND ORDER
                                                )       REGARDING DOCUMENTS DATED
                      Defendants.               )       AUGUST 16, 2000, AND AUGUST 18,
                                                )                     2009


       A bundle of documents was received by this judge on August 21 2009. It carries two
cover sheets, each labeled “CERTIFICATE OF SERVICE” and “MEDICAL EVIDENCE AND
MITIGATING FACTORS.” One of the cover sheets says that it was placed in a sealed envelope
addressed to Ms. Jessica L. Milburn, P.O. Box 6668 Lincoln, Nebraska, 68506 on “this 16 day of
8, 2000.” It is signed “Armando Garcia de La Cruz.” The other cover sheet is addressed to
Warren K. Urbom, United States Senior District Judge, 100 Centennial Mall North 507, Lincoln,
Nebraska, 68508 and says it was deposited in a mailbox “on this 16 day of 8, 2009.” It, too, is
signed “Armando Garcia de La Cruz.” The bundle consists of 60 sheets; there appears to be only
one copy of each sheet. No affidavit verifying the bundle’s sheets accompanied the bundle. Three
sheets are commentary carrying the signature “Armando Garcia de Le Cruz.”
       I think the first cover sheet is in error to the extent that it is marked as having been mailed
in the year 2000 and probably was intended to say that it was mailed in the year 2009.
       The documents accompanying the two cover sheets, probably are for the purpose of
supporting the pending motion to vacate under 28 U.S.C. § 2255, filing 169.
       On June 16, 2009, the defendant’s request for appointment of counsel was granted, filing
194. Jessica L. Milburn is the attorney representing Armando Garcia de La Cruz. As such, she is
the one through whom the defendant, Mr. de La Cruz, must work. Communication between Mr.
de La Cruz and Ms. Milburn is essential, but communication between Mr. de La Cruz and the
court or judge is inappropriate, now that counsel has been appointed.
       THEREFORE IT IS ORDERED that the documents received with the cover sheet
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addressed to this judge shall be held in the judge’s chambers, but not filed with the court unless
and until the appointed counsel asks that it be done.
       Dated August 24, 2009.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge




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